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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                               CASE NO. 3:18cr108-MCR

JOHNNIE HILL CALLAHAN, III
_______________________________/

                   ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, JOHNNIE HILL CALLAHAN, III, to Count(s) ONE, TWO, THREE,

FOUR, FIVE, SIX AND SEVEN of the Superseding Indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as directed.

       DONE and ORDERED this 18th day of April 2019.



                                      s/ M. Casey Rodgers
                                     M. CASEY RODGERS
                                     UNITED STATES DISTRICT JUDGE
